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               EXHIBIT W
  2022.08.02 Boston Magazine Article
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                                                                             LONGFORM



                                                                             The Scandal Rocking Boston’s
                                                                             Ballet World
                                                                             When multiple young women accused a Boston Ballet prima ballerina and
                                                                             her husband of subjecting them to sexual violence almost too lurid to
                                                                             believe, it made headlines around the world. Then the accused lashed back
                                                                             at their protégées with an eye-popping defense tailor-made for tabloids.
                                                                             Behind the curtain of Boston’s most outrageous ballet scandal.


                                                                             by GRETCHEN VOSS · 8/2/2022, 12:14 p.m.



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                                                                             Photo illustration by Benjamen Purvis




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                                                                                                rom the start, the allegations were ugly. In July 2021, the New York
                                                                                                Times reported a bombshell lawsuit had been filed by a young Boston
                                                                                                Ballet dancer named Sage Humphries detailing horrific emotional
                                                                                                manipulation, financial control, and sexual abuse Sage claimed she’d
                                                                             endured at the hands of a then-principal ballerina at the Boston Ballet, Dusty Button,
                                                                             and her husband, Taylor. The suit named Taylor as a defendant and Dusty as a co-
                                                                             conspirator.

                                                                             Dusty wasn’t merely the star of the Boston Ballet, she was a dance world phenom: A
                                                                             master of classical technique who possessed some 300,000 Instagram followers, she
                                                                             was known and worshipped by young aspiring dancers everywhere. Legions of young
                                                                             women around the world—including Sage—wanted to meet her and wanted to be like
                                                                             her. Part of the allure likely stemmed from the fact that Dusty showed a refreshingly
                                                                             rebellious streak in the bunned-up world of ballet: dying her hair, which she chopped
                                                                             into a pixie cut, showing up to rehearsal in high tops instead of pointe shoes, and
                                                                             performing her jaw-dropping ballet extensions and turns to the music of Drake on
                                                                             her Instagram feed. She was the first-ever dancer to be sponsored by Red Bull,
                                                                             magazines wrote fangirl articles about her, and dancewear companies collaborated
                                                                             with her. It was a career envied by young ballerinas everywhere and a trajectory that
                                                                             Taylor, who managed his wife’s social media and career, allegedly promised for Sage
                                                                             in the early days of her friendship with Dusty. Soon, though, according to Sage, the
                                                                             relationship descended into abuse and sexual assault, including the couple
                                                                             threatening to destroy Sage’s career if she ever left them.



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                                                                             In addition to Sage, a second woman was a plaintiff in the lawsuit claiming that 12
                                                                             years ago, when she was living in Florida at age 13 and taking dance classes with
                                                                             Taylor, he’d sexually abused her. The lawsuit also cited others, including a child as
                                                                             young as 11, who came under the spell of the couple and their promises of success in
                                                                             the dance world. “The Buttons abuse their positions of power and prestige in the
                                                                             dance community to garner the loyalty and trust of young dancers,” the lawsuit
                                                                             stated. “The Buttons then exploit those relationships to coerce sexual acts by means
                                                                             of force and fraud.”




                                                                             The Times story soon circled the globe and landed like a sledgehammer. Then things
                                                                             turned even worse. Months later, five additional dancers joined the lawsuit with
                                                                             eerily similar stories of Taylor and Dusty promising them professional success only to
                                                                             sexually abuse and manipulate them. Dusty was officially added as a defendant. Five
                                                                             of the seven accusers had been minors at the time of the alleged assaults. Through a
                                                                             lawyer, the couple denied the accusations against them, but their legal filings, as is
                                                                             customary at that stage of the case, only referred to expired statutes of limitations
                                                                             and did not address the details of the allegations.

                                                                             In the wake of the explosive story, Dusty’s once wildly popular Instagram feed—long
                                                                             a source of inspiration for many dancers—went dark.

                                                                             I reached out to Sage’s lawyer, none other than Sigrid McCawley, the famous Florida
                                                                             attorney who worked largely pro bono for six years representing the sex trafficking
                                                                             victims of Jeffrey Epstein before reaching a financial settlement in the case. Through
                                                                             her, I secured some time with Sage and set out to write about the horrific story of lies,
                                                                             manipulation, and abuse she said she’d suffered, all in the shadow of one of Boston’s
                                                                             most prestigious cultural institutions—the place that, literally, brings fairy tales to
                                                                             life.

                                                                             Over several months, I spent hours listening to Sage tell her story. I spoke at length to
                                                                             her parents, who shared how they’d watched from the sidelines, powerless to protect
                                                                             their daughter, until one day they helped her make a daring escape from the Buttons’

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                                                                                  I spoke to other dancers in the Boston Ballet.                 437-30
                                                                                                                                 I sent emails and left                                         Filed 01/06/25   Page 5 of 19
                                                                             voicemails for the Buttons’ lawyer, all of which went unanswered. I pored over reams
                                                                             of legal documents. I attended the ballet and watched Sage glide across the stage and
                                                                             perform to a full house. I tried to understand the exploitative, controlling relationship
                                                                             that multiple women said led to abuse and how it all happened. I asked tough
                                                                             questions. I made breakthroughs with my reporting that I didn’t fully expect, with
                                                                             consequences that I didn’t expect, either. In fact, the more I learned, the more elusive
                                                                             the truth became.




                                                                             Sage Humphries, of the Boston Ballet, is suing Dusty Button, a former principal ballerina at the ballet, and her
                                                                             husband Taylor, claiming they sexually abused her. / Photo by Matt Kalinowski


                                                                             When Sage walked into a Caffè Nero in the South End for our initial meeting,
                                                                             my first thought was how incredibly beautiful and poised she appeared. Tall and
                                                                             whisper-thin with mid-length blond hair pulled back to display her high cheekbones
                                                                             and blue eyes, she had the good looks of a fashion model and a distinctly un-
                                                                             Bostonian style to go along with it. We settled into our iced coffees, and I tried to ease
                                                                             her nerves as she launched into the story, calmly and without tears, about the darkest
                                                                             era of her life, which also forms the basis of her lawsuit.

                                                                             By reputation, Dusty was a loner and an enigma at the ballet as well as its brightest
                                                                             star. Sage remembers being not only star-struck but also surprised when Dusty took
                                                                             an interest in her—complimenting Sage’s dancing and striking up casual
                                                                             conversations with Sage, one of the newest members of the company’s lowliest rank.

                                                                             Sage told me that one day at the ballet, Dusty invited Sage over to her home for
                                                                             dinner, saying she wanted Sage to meet her husband, whom Sage would adore. That

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                                                                               Sage joined the couple at their apartment in Assembly Square’s 437-30
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                                                                             building, where they gathered around the kitchen island drinking vodka while Taylor
                                                                             peppered Sage with questions about her family, her interests, and her love life. He
                                                                             trained his piercing blue eyes on her, never breaking eye contact. Though she thought
                                                                             it felt somewhat like an interrogation—and said she found Taylor a bit intimidating
                                                                             and menacing-looking—Sage found herself unexpectedly opening up and allowing
                                                                             herself to be vulnerable. She even told Taylor that she was in the midst of a breakup
                                                                             with the first real boyfriend she’d ever had. He seemed to care deeply about what she
                                                                             had to say. In the entire time that Sage had been in Boston, no one had asked her a
                                                                             single question about herself.

                                                                             Living alone for the first time in her life, Sage was lonely. She had moved to a new
                                                                             city at 18, where she didn’t know anyone and was far from her tight-knit family in
                                                                             California. So, Sage told me, when Dusty and Taylor suggested Sage crash at their
                                                                             apartment that night—in the guest room where she recalled having seen the couple’s
                                                                             collection of guns, knives, and grenades displayed on the walls—she said yes.

                                                                             Sage slept in the gun room at Dusty and Taylor’s home again the following week,
                                                                             which soon became a near-nightly ritual. At the ballet, Dusty mentored Sage—
                                                                             working with her one-on-one during rehearsal breaks and even choreographing a
                                                                             dance routine for Sage to submit for an award. Meanwhile, Taylor was offering to
                                                                             advance Sage’s career outside of rehearsals. As Dusty’s manager, Taylor posted
                                                                             content for her hundreds of thousands of Instagram followers, and Sage said he
                                                                             offered to do the same for her. He told Sage he could make her famous, just like
                                                                             Dusty. All he needed were the passwords to her phone and her accounts, and he
                                                                             would work his social media magic for her, too. For Sage, it was a dream come true.

                                                                             As I listened to Sage describe her budding friendship, I found myself feeling
                                                                             protective of the young woman. My feelings turned to disgust when Sage told me
                                                                             what happened one night the third week after the trio began hanging out together.
                                                                             Sage said Taylor dragged a mattress into the living room and insisted they all watch a
                                                                             movie and have a sleepover. As the film’s credits rolled, Dusty’s eyes were closed.
                                                                             Sage—her body turned away from Taylor and curled into a question mark—started
                                                                             drifting off. That’s the moment, Sage told me, that she felt Taylor’s hand slip down
                                                                             the front of her pants and inside of her. Sage said she wanted to scream, to run away,
                                                                             but she felt frozen. She lay there in horror, waiting for it to end. Sage returned the
                                                                             next night, the night after, and the night after that. And each time, she said, she was
                                                                             abused.

                                                                             When I asked Sage to explain why she returned time and again, she told me she was
                                                                             terrified that if she’d spoken up, she would have lost her only friend as well as all the
                                                                             help they were giving her. Worse still was her fear that Dusty, one of the most
                                                                             powerful dancers at the ballet, would derail her career altogether. As time passed,
                                                                             Sage couldn’t ignore that Taylor exhibited flashes of rage and volatility. She grew to
                                                                             fear him and hoped that the abuse would just stop.

                                                                             It didn’t. In fact, Sage said, it only escalated, as did the control tactics the pair used
                                                                             on her. Sage was not a big drinker, but according to the lawsuit, Dusty and Taylor
                                                                             encouraged her to imbibe heavily when they hung out. They told her to wear Dusty’s


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                                                                                and to style her hair like Dusty’s, too. They told her what to eat437-30
                                                                                                                                                  and who to        Filed 01/06/25   Page 7 of 19
                                                                             talk to, and they paid for everything. Because he was managing her social media,
                                                                             Taylor had access to Sage’s phone, including private communications. The pair began
                                                                             to question the choices Sage made for herself: Why did she, a grown, independent
                                                                             woman, talk to her parents so often? Why did she take ballet so seriously? Why was
                                                                             she such a bunhead? The couple began making decisions for Sage, and Sage let them.

                                                                             Sage explained to me that she quickly learned that compliance was the path of least
                                                                             resistance. If she didn’t obey—if, for instance, she chatted with a fellow dancer at
                                                                             rehearsal—Sage would face criticism and harsh words. But when she followed orders,
                                                                             acquiescing to Dusty and Taylor, Sage was rewarded with lavish praise. It was, she
                                                                             said she later learned, classic punishment and reward conditioning common in many
                                                                             abusive relationships.

                                                                             When Sage told Dusty and Taylor that she was going to visit her parents for Easter,
                                                                             they insisted on accompanying Sage and never left her alone with her mom and dad
                                                                             throughout the trip. The couple also insisted Sage sleep in the same bed with them,
                                                                             which Sage knew her parents would not condone—but they did it anyway. Sage’s
                                                                             mother Micah told me that the dynamic among the three of them struck her as
                                                                             strange and even wrong. She saw the threesome in bed together and noticed that the
                                                                             couple would not let her daughter—always dressed in Dusty’s clothes—go anywhere
                                                                             alone. One evening, Sage and her mother were heading out to pick up a pizza for
                                                                             dinner when Taylor and Dusty scrambled into the car, uninvited, to join them. Micah
                                                                             said she watched in horror as the pair barked orders at Sage, and her daughter
                                                                             complied, no questions asked. Another evening, Dusty and Taylor insisted Sage take
                                                                             them—without her family—to spend the night at the Humphries’ beach house. Sage
                                                                             told her parents they weren’t welcome to join, grabbed the keys, and walked out the
                                                                             door. Sage’s mother was stunned.

                                                                             Then Sage told me of another decisive moment. At the beach house, Dusty started
                                                                             kissing Sage, telling her that now all three of them could be together and that she
                                                                             knew Sage had always wanted this. When they were all back in Boston, Sage said, the
                                                                             couple barged in on her while she was showering and told her she was now their
                                                                             girlfriend. It was not posed as a question.




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                                                                             Dusty, Taylor, and Sage in photos entered as evidence in a lawsuit filed by the Buttons. / Federal
                                                                             Court/Pacer/Public Records




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                                                                             The second amended complaint—the most recent version of Sage’s lawsuit—picks
                                                                             up the story from there. One night, when Taylor, Dusty, and Sage were at the couple’s
                                                                             home, Taylor and Dusty instructed Sage to put on a head-to-toe spandex outfit that
                                                                             covered her entire body, including her mouth and eyes. According to allegations in
                                                                             the lawsuit, they led her into the room with all their guns, placed her on a table, and
                                                                             bound her arms and legs. As Sage lay motionless and sensory-deprived, akin to a
                                                                             human sacrifice, the couple sexually assaulted her. When the couple was finished and
                                                                             untied Sage, she burst into tears, she told me. She was terrified. But they just mocked
                                                                             her and told her she was being weak and stupid, and that what just happened was no
                                                                             big deal.

                                                                             After that, according to the lawsuit, the pair had sex with Sage whenever they wanted,
                                                                             without her consent. They choked her, slapped her, pulled her hair, and invaded her
                                                                             with painful sex toys. Sage told me that between the booze and the constant out-of-
                                                                             body disassociation that she required to survive, she turned numb. That feeling also
                                                                             extended to her ballet life. Where once Sage had felt such lightness and joy when she
                                                                             danced—her lifelong passion—now she just sloughed through the motions.

                                                                             Sage’s mother, Micah—who was convinced Dusty and Taylor were controlling her
                                                                             daughter—tells me that while at home in California, she noticed on Dusty’s Instagram
                                                                             page that Dusty had changed her bio from “principal ballerina at the Boston Ballet” to
                                                                             “former principal ballerina.” As it turned out, the day before—Monday, May 22—
                                                                             Dusty had been fired from the ballet for reasons Boston Ballet officials still won’t
                                                                             disclose. In a move some dancers say is highly unusual, Dusty was not only let go

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                                                                        before the end of the season but banned from the premises—the rehearsal space and
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                                                                             the Opera House—effective immediately.

                                                                             Sage’s mother told her husband they had to act fast. If Dusty was no longer at the
                                                                             ballet, she reasoned, her daughter would at least be free from their clutches in the
                                                                             hours when she was rehearsing or performing. This, Sage’s mother said, was their
                                                                             only chance to help their daughter. It was the last week of the ballet season, after
                                                                             which Sage had recently informed them she was not coming home for the summer.
                                                                             Instead, Sage told her mother she was headed to Australia with Dusty and Taylor. It
                                                                             was now or never. Sage’s parents tossed some things into a suitcase, sped to LAX, and
                                                                             boarded a red-eye flight headed east.

                                                                             After Sage’s parents arrived in Boston, Micah told me, a high-ranking Boston Ballet
                                                                             staffer met them for coffee at a coffee shop, where they discussed Sage and Dusty’s
                                                                             relationship. Sage’s parents had hatched a plan to extract Sage from the Opera House
                                                                             —a safe haven that neither Dusty nor Taylor were allowed to enter—later that very
                                                                             night. Micah said they contacted Elizabeth Olds, assistant to artistic director Mikko
                                                                             Nissinen, to put their plan in motion. If all went well, when the curtain rose at the
                                                                             Opera House that evening, Sage would not be gliding onto the stage but on her way to
                                                                             safety with her family.

                                                                             A Boston Ballet official, Sage, and her parents pieced together for me what happened
                                                                             next. After Taylor walked Sage to the Opera House for that night’s performance,
                                                                             Sage’s phone rang. It was her father, who told her she wasn’t performing that night.
                                                                             He and her mother were standing at the stage door. Panicked, Sage called Taylor to
                                                                             let him know what was happening. Then, according to Sage, rehearsal director Tony
                                                                             Randazzo emerged from backstage, linked his arm through Sage’s, and escorted her
                                                                             down the stairs before gently pushing Sage out through the stage door where her
                                                                             parents were waiting in an Uber. Sage began to shriek.

                                                                             (I reached out to the Boston Ballet to ask if they had previously had concerns about
                                                                             the relationship between Sage and the Buttons. The Ballet stated that they had no
                                                                             knowledge of the nature of Sage’s relationship with the Buttons until they met with
                                                                             Sage’s parents to help facilitate her exit from the Opera House.)

                                                                             After Randazzo shut the door behind Sage, her father took her arm and quickly
                                                                             ushered his daughter into the car. Sage was shaking and demanding to be taken back
                                                                             to Dusty and Taylor. Her phone was blowing up with texts and calls from them. In
                                                                             one of the texts, which Sage’s mother saw, Taylor supposedly told her he was coming
                                                                             to the airport to get her. Sage’s mom panicked. “Step on it,” she ordered the Uber
                                                                             driver.

                                                                             The car barreled toward Logan in the pouring rain while Sage’s father rifled through
                                                                             his daughter’s purse and removed her driver’s license. Her mom tried to wrench
                                                                             Sage’s phone out of her hands while Sage talked to Dusty. When her mom finally
                                                                             grabbed the phone, she yelled into it, “Back off, bitch,” and hung up on Dusty.

                                                                             The car pulled to a stop outside of the airport terminal, where the family ushered
                                                                             Sage inside to check into their flight. Sage’s parents had spent $10,000 on the last
                                                                             three seats available when the counter agent told them the flight would be delayed

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                                                                        until the next morning due to the torrential rainstorm. Sage’s mom broke down
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                                                                             sobbing. “My husband’s father is dying,” she told the ticket agent. “Please get us on a
                                                                             flight out of here.” The only available flight, the agent said, was the very last plane out
                                                                             of Boston, which had a 10-hour layover in Denver. “I’ll take it,” Sage’s mother said.

                                                                             All Sage’s parents could think about was getting to the other side of the security gate
                                                                             —where neither Dusty nor Taylor could get to Sage—as fast as possible. Easier said
                                                                             than done, as Sage fought, screamed, and struggled in the snaking security line. It felt
                                                                             like a miracle when they made it through.

                                                                             The flight and layover weren’t much better. Like an unruly child, Sage spent the five-
                                                                             hour flight to Denver kicking the seat in front of her where her mother sat. Someone
                                                                             in a seat near Micah gave her a referral for a drug rehab program, apparently
                                                                             convinced Sage was an addict in the midst of an intervention. Sage’s father spent the
                                                                             layover trying to make sure Sage didn’t run off to borrow a phone from anyone to call
                                                                             her tormentors. Neither parent recognized their daughter’s behavior. “They must
                                                                             have drugged her,” Sage’s mom said to her husband, thinking of the refined teenage
                                                                             dancer who had left for Boston just a year earlier. “This is simply not her. She is out
                                                                             of her mind.”

                                                                             Over the next couple of weeks at her parents’ sun-splashed home in southern
                                                                             California, Sage remained trapped in the fog of her delusion and trauma. She insisted
                                                                             that Dusty and Taylor loved her to anyone who’d listen, including concerned
                                                                             relatives, friends, and even the family pastor who tried to help her. That is, at least,
                                                                             how Micah told the story.

                                                                             Then one day, Sage returned to her senses. Sage said she had grabbed someone’s
                                                                             phone to message Taylor via Snapchat, who, along with Dusty, was in Australia.
                                                                             According to the lawsuit, Taylor responded that he wanted to throw Sage in his van,
                                                                             tie her hands and feet, blindfold her, rent a warehouse, hang her from the ceiling,
                                                                             rape her, and leave her to die.

                                                                             Seeing those words shocked Sage and, in an instant, it was as though her mind
                                                                             snapped back to reality. She filed an affidavit seeking a restraining order against the
                                                                             pair and flew to Boston for a hearing in early August. The court granted her abuse
                                                                             protection orders, which were eventually made permanent. With those legal
                                                                             protections in place, Sage returned to live in Boston, dance with the ballet, and put
                                                                             her life back together.

                                                                             Sage said she conducted some amateur sleuthing over the course of the next three
                                                                             years, and learned that she was one in a series of vulnerable dancers, many of them
                                                                             minors, whom Taylor and Dusty had allegedly abused. In the summer of 2020,
                                                                             during the pandemic, Sage was home in California binge-watching a docuseries on
                                                                             sexual predator Jeffrey Epstein and his accomplice Ghislaine Maxwell. Sage
                                                                             shuddered as she recognized the manner in which the duo tag-teamed their prey. She
                                                                             grabbed her phone, Googled Sigrid McCawley—a managing partner at the firm of
                                                                             Boies Schiller Flexner and the lawyer representing the victims who appeared on the
                                                                             show—then dialed and left a message. McCawley called Sage back an hour later. More
                                                                             than a year later, they filed the lawsuit.


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                                                                             After my first meeting with Sage, I knew I needed to delve deeper into her
                                                                             background if I had any hope of understanding how she became so ensnared in the
                                                                             couple’s trap— and so quickly—and why she couldn’t leave. I called Sage, and she
                                                                             talked about what had made her, in her own words, “a perfect victim.” She said she
                                                                             was sexually inexperienced, having only been with one person. She had a sheltered
                                                                             upbringing and was living alone for the very first time. She was young, far from her
                                                                             tight-knit family, and desperately wanted to succeed at professional ballet. In other
                                                                             words, she was innocent, naive, and vulnerable. She told me of feeling trapped
                                                                             between Dusty, whose friendship she desperately wanted to preserve, and Taylor, a
                                                                             man who was volatile, abusive, and who she was terrified would hurt her.

                                                                             After about 30 minutes, Sage abruptly ended our call. An hour later, I received an
                                                                             email from her public relations person referencing “a troubling call this morning
                                                                             [McCawley] received from Sage,” and that Sage was apparently concerned with “the
                                                                             direction of the reporting.” I jumped on a conference call with McCawley, Sage’s
                                                                             lawyer, and her PR agent, confused as to what could be so troubling. Sure, Sage’s past
                                                                             was an uncomfortable subject, but it was ground we had already covered, and they
                                                                             were questions anyone might ask. I reassured them everything was above board, but
                                                                             Sage and I never spoke again.

                                                                             Before this piece was originally scheduled to go to the printer, I sent Dusty and
                                                                             Taylor’s lawyer, Marc Randazza, a so-called “no surprises” email reiterating Sage’s
                                                                             allegations that I expected to recount in my article. It was one final chance for him to
                                                                             share his clients’ side of the story. I had already emailed multiple requests for


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                                                                                and never heard back, so I didn’t expect this last time to be 437-30
                                                                                                                                              any different. Filed 01/06/25   Page 14 of 19
                                                                             Boy, was I wrong.

                                                                             Randazza, who I later learned rose to fame defending members of the porn industry,
                                                                             texted that he could “discuss briefly.” When we connected, he asked that I not record
                                                                             our conversation. “You’re really the only journalist that my response has been
                                                                             anything other than, ‘go fuck yourself,’” Randazza told me, perhaps as a compliment.
                                                                             He said that most of my questions would be answered in a pleading that he intended
                                                                             to file—nearly a full year after the lawsuit began—in roughly 20 minutes. He wouldn’t
                                                                             send it to me, he explained, because he didn’t want to be seen as playing the media.
                                                                             “Although I know that’s what fuckhead Boies and crew are doing, I don’t act like
                                                                             them,” he said, referring to McCawley’s law firm. I’d have to find the court filing
                                                                             myself online. He promised to text me when it would be available.

                                                                             Two hours later, Randazza sent me a one-word text: “ding.” I guessed that meant he’d
                                                                             filed the pleading. I tracked it down, expecting to find a few pages of boring legal
                                                                             technicalities and washed-over denials. The moment I opened the file, it felt as
                                                                             though the floor had dropped out from under me.

                                                                             Ohmygodwhatthefuck…

                                                                             Up until now, Taylor and Dusty had only argued that the judge should dismiss the
                                                                             lawsuit based on an expired statute of limitations. The time wasn’t yet ripe for them
                                                                             to be arguing that the claims were untrue, and Randazza had repeatedly vowed that
                                                                             he would not litigate this case in the media. Yet, Randazza had just filed 120 pages of
                                                                             documents, including 23 exhibits, sharing his clients’ narrative of events. The “no
                                                                             surprises” email I had just sent him formed part of his public record filing—but now
                                                                             it was accompanied by answers from Dusty and Taylor made “under penalty of
                                                                             perjury.” Even more astounding, Dusty and Taylor had not only filed a counterclaim
                                                                             against Sage and the other dancers, but they also pulled in five additional defendants
                                                                             —including Sage’s parents. Each paragraph was one bombshell after the next,
                                                                             presenting an alternate reality to nearly everything Sage had ever told me.




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                                                                             Federal Court/Pacer/Public Records




                                                                             Federal Court/Pacer/Public Records



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                                                                        As I read through the court papers, my head felt as though it were spinning.
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                                                                             According to Dusty and Taylor’s new filing, Sage was sexually abused all right, just
                                                                             not by them—but rather by a series of older men who allegedly committed statutory
                                                                             rape. Before moving to Boston, when Sage was still underage, the filing alleged, she
                                                                             had a romantic relationship with former New York City Ballet principal dancer Chase
                                                                             Finlay, whom Sage knew to be engaged to another dancer. (The engagement was
                                                                             subsequently called off, and Finlay left the dance world in 2018 after being accused
                                                                             by another ex-girlfriend of sharing explicit photos of her to his fellow dancers.) Then
                                                                             there was a boyfriend in his 40s, Anthony Giovanni Deane, who allegedly dated Sage
                                                                             when she was 17 years old. The Buttons claimed Sage had even planned to elope with
                                                                             the California designer.

                                                                             The worst was yet to come. Next, Dusty and Taylor alleged in their court filing that
                                                                             when Sage was a minor, a well-known Canadian billionaire (and owner of the
                                                                             Edmonton Oilers pro hockey team) named Daryl Katz, who was 53 at the time, had
                                                                             paid Sage $75,000 purportedly for sexual favors. (The founder and chairman of one
                                                                             of Canada’s largest privately owned enterprises, Katz had been previously accused by
                                                                             Brazilian actress and model Greice Santo of offering her money for sex in 2017; he
                                                                             called her claims “false, malicious, and entirely without merit.”) As support for the
                                                                             unproven allegations involving Sage, the Buttons’ new filing included copies of texts
                                                                             sent between Sage and Katz. According to one exchange, Katz wrote, “You’re perfect
                                                                             Sage. That’s what scares me. Your acct is open at UBS. The guys will put 25K in. I also
                                                                             told them to get you [a] debit card and put some cash on it OR you won’t buy yourself
                                                                             anything…OK will have one of my guys email u. He will send you 50K.” Katz and Sage
                                                                             also discussed getting together, though the texts give no indication of whether they
                                                                             ever did. (In response to the claims against them, Sage’s parents said they stand with
                                                                             their daughter. Through his lawyer, Finlay declined to comment. Through his lawyer,
                                                                             Katz denied that he ever had a sexual relationship with Sage. Giovanni Deane did not
                                                                             respond to my requests for comment.)

                                                                             In addition to accusing Sage of having been a “child prostitute,” Dusty and Taylor’s
                                                                             filing alleged that Sage’s mother knew about and promoted her daughter’s
                                                                             arrangement with Katz. Sage’s mother “assisted her in laundering the money she was
                                                                             paid and in trafficking her to Katz…a grifting pattern that included trafficking her
                                                                             own daughter to a billionaire for financial gain,” their filing alleged. The Buttons went
                                                                             on to claim that Sage’s parents manipulated and mistreated Sage for years. “Sage
                                                                             grew up with hyper-controlling conservative parents,” the court papers stated, “[and]
                                                                             therefore sought excitement in drug use and sexual promiscuity—something that left
                                                                             her controlling parents perplexed and horrified.” Before Sage moved to Boston, the
                                                                             Buttons’ filing alleged, her parents sent her to Florida for a year to “dry out from her
                                                                             drug use.”

                                                                             When it comes to how they met Sage to begin with, the Buttons claimed that Sage
                                                                             approached them—at the behest of her mother, whom they stated “was ‘casing’ the
                                                                             Buttons as a mark for her next grift”—seeking advice for growing her social media
                                                                             presence. Dusty and Taylor admit to having had a sexual relationship with Sage—but
                                                                             a consensual one, and one that Sage initiated. “The Buttons eventually acquiesced to
                                                                             Sage’s advances and began a consensual ‘throuple’ sexual relationship with Sage


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                                                                                  after Sage moved in with them,” the counterclaim stated. 437-30
                                                                                                                                           Their                         Filed 01/06/25   Page 17 of 19
                                                                             relationship “appeared, at the time, to be one of mutual love, affection, and respect.”

                                                                             According to declarations submitted with the filing by both Dusty and Taylor, that
                                                                             night when Sage said Taylor had pulled out a mattress and sexually abused her for
                                                                             the first time? “None of [it] ever happened,” the couple responded. That night when
                                                                             Dusty supposedly kissed Sage at her parents’ beach house? It was Sage who kissed
                                                                             Dusty first. In fact, the Buttons claimed, Sage “begged to have sex” with Taylor,
                                                                             during which Dusty cried. It was Sage who stepped into the shower with Dusty and
                                                                             Taylor and asked, “Can I be your girlfriend?” The time Taylor had Sage dress in
                                                                             spandex? Not true. Dusty and Taylor blowing up Sage’s phone with calls and texts
                                                                             when her parents were whisking her to safety from the Opera House? “This never
                                                                             happened,” the couple claimed. Taylor’s supposed comments about kidnapping Sage
                                                                             in a van and raping and killing her? Once again, the filing stated, it “never happened,
                                                                             and the scene she is describing was taken from a VICE News episode that Sage liked
                                                                             about people paying and setting up fake kidnappings of themselves for pleasure.”

                                                                             As for the six other dancers who along with Sage sued the Buttons? Either they
                                                                             abused Dusty—not the other way around—or had felt slighted or were jealous,
                                                                             scorned ex-girlfriends of Taylor’s, who were prodded into colluding against him and
                                                                             Dusty in the lawsuit, the counterclaim said, “to extort money from the Buttons and
                                                                             advance their careers.” What’s more, the Buttons deny having ever met—or ever
                                                                             having known—“Jane Doe 100,” who said she was sexually abused at their apartment
                                                                             in 2014.

                                                                             Remember the room at Taylor and Dusty’s apartment containing an arsenal of guns,
                                                                             knives, and grenades? The apartment “did not contain weapons or firearms of any
                                                                             kind,” according to the counterclaim, in which Taylor and Dusty also alleged that
                                                                             Sage’s mother had pretended to be a neighbor and called in a fake report to the police
                                                                             about the alleged weapons while the couple was away.

                                                                             The claims in Dusty and Taylor’s court filings about two ex-lovers and payments from
                                                                             an older man were shocking to read. I reminded myself that allegations—both from
                                                                             the Buttons and from Sage—are just that and not necessarily true. But then there
                                                                             were exhibits, too. Photo after photo submitted with the Buttons’ new filing appeared
                                                                             to show Sage, Dusty, and Taylor snuggled together in bed, the two women kissing
                                                                             Taylor; Sage happily spooning with Taylor; Sage in an intimate embrace with Dusty
                                                                             in front of a shelf full of marijuana bongs and pipes. A card purportedly from Sage to
                                                                             Dusty read, “I hope you know how deep my love for you is. I love you Dusty. Forever.”
                                                                             A Snapchat from Sage to Taylor said, “There is nothing in this world I want more
                                                                             than to wake up in your arms…you are such an honest love and have such a beautiful
                                                                             heart.” Sage had sent texts to both of them professing, “I’m so in love with you both.
                                                                             Always your girl. I’m yours. Forever. I want us to have kids.” She asked them to come
                                                                             save her.

                                                                             My mind reeled as I pictured the innocent young woman—sexually inexperienced,
                                                                             God-fearing, not accustomed to drinking alcohol—who so bravely spoke to me at
                                                                             Caffè Nero a few months earlier about the horrors she endured. As I clicked through
                                                                             the pictures and texts in the counterclaim, as well as the cards and lyrics to love songs


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                                                                            she’d apparently penned about the Buttons, barely               437-30
                                                                                                                              breathing as the cognitive               Filed 01/06/25   Page 18 of 19
                                                                             dissonance paralyzed my brain, I received a text. It was from Randazza. “Any
                                                                             questions?” he wrote.


                                                                             Any questions? I said out loud as I tossed my phone onto the table next to my laptop.
                                                                             Yeah, lots of them.

                                                                             Over the next several days, my mind ping-ponged between two very different
                                                                             versions of reality, desperately trying to reconcile them. I took my dog for a walk in
                                                                             the woods and pictured Sage’s earnest eyes—and felt like I believed her. A few hours
                                                                             later, in my kitchen making dinner, the exhibits flashed across my mind: photos of
                                                                             three seemingly happy people, punctuated by Dusty and Taylor’s claim that they were
                                                                             a “throuple,” and in the moment that seemed most plausible. The next day, I recalled
                                                                             Sage telling me about the abuse she suffered, and I was back to believing her. And so
                                                                             it went.

                                                                             I wrote to Sage’s lawyer asking for a reaction to the Buttons’ allegations, and she
                                                                             replied with a short statement that read: “As is typical of abusers, the Buttons’
                                                                             counter-claims are an effort to weaponize the allegations of abuse brought against
                                                                             them in a depraved effort to cast the…brave women named in the complaint as liars.
                                                                             Their hoax doesn’t change the facts in this case. The women are truth-tellers, and we
                                                                             are confident the Buttons will be brought to justice.”

                                                                             The truth is that I don’t know the truth. What I do know, though, is that taken as a
                                                                             whole, neither story makes much sense.

                                                                             In the Buttons’ court filing, they state that Sage’s parents were hyper-controlling
                                                                             conservatives, yet they also claim Sage’s mother prostituted out her own daughter—
                                                                             when Sage was a minor, no less. They claim Sage’s promiscuity “horrified” her
                                                                             parents but then also state that Sage’s father walked in on the three of them having
                                                                             sex and never said a word other than to remind Sage of a dentist appointment.

                                                                             Dusty and Taylor claim that it was Sage’s mother’s idea for Sage to move in with them
                                                                             to save money, yet according to Sage and her parents they continued to maintain her
                                                                             South End apartment.

                                                                             Additionally, the Buttons said that all of the young dancers who allege Taylor sexually
                                                                             abused them in Florida when he was their dance teacher (and went by a different
                                                                             name) were not victims at all, but opportunists who only jumped on the #MeToo
                                                                             bandwagon in hopes of a payout after Sage filed the lawsuit. Yet how to explain the
                                                                             New York Times’ reporting that one of them went to the police about the sexual
                                                                             abuse back in 2012? How to explain why a judge granted Sage a permanent
                                                                             restraining order against the Buttons after hearing her testimony?

                                                                             And why would the Boston Ballet assist Sage’s parents’ efforts to kidnap a grown
                                                                             adult under their employ if they didn’t think something was indeed seriously wrong?
                                                                             Why would they welcome Sage back—and offer her their full and public support—
                                                                             while turning their back on Dusty, one of their most famous ballerinas? Why would
                                                                             multiple current dancers—who were there for the entirety of Dusty’s career at the
                                                                             Boston Ballet—tell me they were not surprised by Sage’s story because Dusty’s


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                                                                                 was straight out of “a familiar playbook” that               437-30
                                                                                                                                she had previously used with Filed 01/06/25   Page 19 of 19
                                                                             other dancers in the company?

                                                                             Still, there are holes in Sage’s story as well. During our hours of conversations, she
                                                                             never once told me that she thought she’d loved Taylor or Dusty. Indeed, she made a
                                                                             point of telling me that the sexual nature of their relationship was never consensual.
                                                                             Of course, seasoned predators are masters of mind-control and gaslighting to the
                                                                             point that thoughts—and consent—may very well become a moot point. But Sage
                                                                             never mentioned that. She never said she was so indoctrinated she believed she loved
                                                                             them, even when her behavior didn’t add up, and I prodded for explanations. And
                                                                             yet, there were texts in which Sage spelled out her love and devotion for the Buttons,
                                                                             not to mention the cards, song lyrics, and all those pictures of the three of them in
                                                                             what can only be described as romantic bliss.

                                                                             Why didn’t an airport official detain, or at least question, two adults who were clearly
                                                                             forcing another adult—who was kicking and screaming and acting like she was on
                                                                             drugs—through security and onto a plane?

                                                                             And finally, the original question that had unsettled me all along still lingered: Why
                                                                             did Sage go back to the Buttons’ apartment the very next day—and all the following
                                                                             days after that—once Taylor sexually abused her for the first time not long after
                                                                             they’d met?

                                                                             As I sat at a table buried under a mountain of black-and-white court documents,
                                                                             trying to wrap my head around the two competing narratives contained within them,
                                                                             my mind drifted back to a memory: a recent night at the ballet, when the curtain rose
                                                                             to a nearly sold-out audience at the gold-leafed, Carrara-marbled Opera House. Sage,
                                                                             alongside a company of dancers clad in diaphanous blue, leapt, then pirouetted
                                                                             across the stage. I lost myself in the performance.


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